Case 3:17-cv-02366-BAS-KSC        Document 294-3    Filed 09/26/19   PageID.7891   Page
                                         1 of 3


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       Al Otro Lado, Inc., et al.,                  Case No.: 17-cv-02366-BAS-KSC
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                          Plaintiffs,
                                                    EXHIBIT 1 TO MOTION FOR
  20            v.                                  PRELIMINARY INJUNCTION
  21   Kevin K. McAleenan,1 et al.,
  22                      Defendants.
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  28    Acting Secretary McAleenan is automatically substituted for former Secretary
       Nielsen pursuant to Fed. R. Civ. P. 25(d).
Case 3:17-cv-02366-BAS-KSC   Document 294-3    Filed 09/26/19   PageID.7892   Page
                                    2 of 3



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Case 3:17-cv-02366-BAS-KSC Document
                            Document  294-3Filed
                                    283-1      Filed 09/26/19
                                                  08/16/19     PageID.7893
                                                            PageID.6779 Page Page
                                                                             2 of 2
                                    3 of 3
